 Case 1:19-cv-12601-TLL-PTM ECF No. 7 filed 12/12/19         PageID.26    Page 1 of 2




                UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF MICHIGAN
                         NORTHERN DIVISION

ANGELA BANKER, BRENDA
BRANDON, JAIMEE COTTER, ANNE                  Case No. 1:19-cv-12601
PASHENEE and LISA THAYER,
individuals                                   Hon. Thomas L. Ludington

       Plaintiffs,

vs.

CENTRAL MICHIGAN
UNIVERSITY,

       Defendant.
                                                                                     /
  BURGESS SHARP & GOLDEN, PLLC                 CLARK HILL PLC
  HEIDI T. SHARP (P69641)                      ROBERT M. VERCRUYSSE
  43260 Garfield, Suite 280                    (P21810)
  Clinton Township, MI 48038                   ANNE-MARIE V. WELCH
  (586) 226-2627                               (P70035)
  Heidi@bsglawfirm.com                         500 Woodward Avenue, Suite 3500
  Attorneys for Plaintiffs                     Detroit, MI 48226
                                               (313) 965-8325
                                               rvercruysse@clarkhill.com
                                               awelch@clarkhill.com
                                               Attorneys for Defendants
                                                                                     /


      STIPULATED ORDER JOINING ALL CLAIMS AND DISMISSING
                  COMPLAINT WITH PREJUDICE

       Defendant Central Michigan University (“Defendant”) and Plaintiffs Angela

Banker, Brenda Brandon, Jaimee Cotter, Anne Pashenee and Lisa Thayer

(“Plaintiffs”) by and through their respective counsels, state that the parties to this
 Case 1:19-cv-12601-TLL-PTM ECF No. 7 filed 12/12/19          PageID.27     Page 2 of 2




action pursuant to Fed. R. Civ. P. 41(a)(1)(ii), stipulate to the entry of the Stipulated

Order Joining All Claims and Dismissing Complaint with Prejudice and without

costs and attorneys’ fees.

      IT IS HEREBY ORDERED AND ADJUDGED that the Complaint and all

causes of action so joined be dismissed with prejudice and without costs and

attorneys’ fees awarded.

      Dated: December 12, 2019                        s/Thomas L. Ludington
                                                      THOMAS L. LUDINGTON
                                                      United States District Judge




WE HEREBY STIPULATE TO THE ENTRY OF THE ORDER; APPROVED AS TO
FORM:

BURGESS SHARP & GOLDEN,                        CLARK HILL PLC
PLLC                                           /s/Robert M. Vercruysse
/s/Heidi T. Sharp with permission              Robert M. Vercruysse (P21810)
HEIDI T. SHARP (P69641)                        Anne-Marie V. Welch (P70035)
43260 Garfield, Suite 280                      Attorneys for Defendants
Clinton Township, MI 48038                     500 Woodward Ave., Suite 3500
(586) 226-2627                                 Detroit, Michigan 48226
Heidi@bsglawfirm.com                           (313) 965-8325
Attorneys for Plaintiffs                       Rvercruysse@clarkhill.com
                                               AWelch@clarkhill.com
                                               Attorneys for Defendant

Dated: December 10, 2019




                                           2
